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UNITED STATES DISTRICT COURT

SoUTHERN DISTRICT oF NEW YoRK USDC SDNY
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ELECI`RONTCALLY FlLED

ENRIQUETA MERA, ; DGC #:
DATE FlLED: ¢QS/ 03

 

 

 

 

 

 

 

Plaintiff,

-against- ORDER
07 Civ. 6069 (SAS)(KNF)
BERTHA SANTIAGO, Individually and as the
Prospective Fiduciary of the Estate of
LUIS SANTIAGO, Deceased,

Defendant.

 

KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE IUDGE

The Settlement conference Scheduled previously for June 2, 2008, at 10:30 a.rn., is
canceled. lt Shall be held on June 25, 2008, at 10:30 a.m., in courtroom 20A, 500 Pearl St., New

York, New York.

 

Dated: New York, New York SO ORDERED:
May 28, 2008 ~ _ .
KEVIN NATHANIEL FOX

UNITED STATES MAGISTRATE JUDGE

